     Case 4:18-cv-00430 Document 205-7 Filed on 09/17/20 in TXSD Page 1 of 5




                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS


KIMBERLY KJESSLER, KLAIRE
RUECKERT, LAURA BRALEY, TIMOTHY
HAYDEN and SUMMER LANG, individually
and on behalf of all others similarly situated,        Civil Action No. 4:18-cv-0430
                                                       (Consolidated)
               Plaintiffs,

v.

ZAAPPAAZ, INC., AZIM MAKANOJIYA,
NETBRANDS MEDIA CORP., MASHNOON
AHMED, GENNEX MEDIA, LLC,
BRANDECO, L.L.C., AKIL KURJI, CUSTOM
WRISTBANDS INC., and CHRISTOPHER
ANGELES,

               Defendants.




           DECLARATION OF BETSY C. MANIFOLD IN SUPPORT OF
     MOTION FOR AWARD OF ATTORNEYS’ FEES AND LITIGATION EXPENSES

I, Betsy C. Manifold, declare as follows:

        1.      I am a partner at Wolf Haldenstein Adler Freeman & Herz LLP.           I submit this

declaration in support of Plaintiff’s motion for an award of attorneys’ fees and expenses in

connection with the services rendered, and costs and expenses incurred, in the above-captioned

action (the “Action”).

        2.      My firm served as Plaintiffs’ Counsel in the Action.

        3.      The schedule attached as Exhibit 1 sets forth my firm’s total hours and lodestar,

computed at historical rates, for the period of inception of the case through and including today’s

date. The total number of hours spent by my firm during this period was 783.3, with a

corresponding total lodestar (at historical rates) of $523,499.00. This schedule was prepared from
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contemporaneous daily time records prepared and maintained by my firm. In connection with

representing the Plaintiffs in the Action, my firm did the following: investigating the underlying

factual record and developing the legal theories of the case; drafting the initial complaints and the

subsequent consolidated amended class action complaint; drafting and responding to MDL and §

1404 transfer motions for various Plaintiffs; drafting and serving discovery on Defendants;

responding to discovery served by Defendants; reviewing, analyzing, summarizing, and organizing

documents produced by Defendants; analyzing Defendants’ transactional data; coordinating case

strategy and discovery with Plaintiffs’ co-counsel; participating in numerous arms-length settlement

negotiations with each Defendant; attending multiple mediation sessions before the Honorable

Susan Soussan in connection with settlement discussions involving certain Defendants; negotiating

and drafting settlement agreements for each Defendant group; drafting the preliminary and final

settlement approval motions; and developing the notice plan and coordinating claims administration

with the claims administrator. The lodestar amount reflected in Exhibit 1 is for work performed by

attorneys and professional staff at or affiliated with my firm for the benefit of the Class. The hourly

rates for the attorneys and professional staff in my firm reflected in Exhibit 1 are the usual and

customary hourly rates historically charged by my firm in similar complex litigation matters.

       4.      My firm has expended a total of $8,271.27 in unreimbursed costs and expenses in

connection with the prosecution of the Action from inception of the case through and including

today’s date. These costs are set forth in the Schedule attached as Exhibit 2 and are reflected in the

books and records of my firm. They were incurred on behalf of Plaintiffs by my firm.

       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

/s/ Betsy C. Manifold
Betsy C. Manifold
Partner
Wolf Haldenstein Adler Freeman & Herz LLP
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                                  UNITED STATES DISTRICT COURT
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BRANDECO, L.L.C., AKIL KURJI, CUSTOM
WRISTBANDS INC., and CHRISTOPHER
ANGELES,

                 Defendants.




     EXHIBIT 1 TO THE DECLARATION OF BETSY C. MANIFOLD IN SUPPORT OF
      MOTION FOR AWARD OF ATTORNEYS’ FEES AND LITIGATION EXPENSES

                                  Reported Hours and Historical Lodestar
                                      Inception Through Today’s Date

       Name                    Position          Hours           Historical Rate      Lodestar


Daniel W. Krasner      P                                   2.0              $965            $1,930.00
Fred T. Isquith        P                                  66.8              $900           $60,120.00
                                                          95.8              $915           $87,657.00
                                                         110.3              $930          $102,579.00
                                                           9.9              $945            $9,355.50
Peter C. Harrar        P                                   0.8              $855              $684.00
Betsy C. Manifold      P                                  19.3              $790           $15,247.00
                                                           4.5              $800            $3,600.00
                                                           8.4              $810            $6,804.00
Thomas H. Burt         P                                  52.2              $690           $36,018.00
                                                           8.2              $700            $5,740.00
                                                           0.3              $710              $213.00
Theodore B. Bell       OC                                 15.0              $595            $8,925.00
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                                           2.2           $605        $1,331.00
Carl V. Malmstrom OC                      90.5           $510       $46,155.00
                                         180.5           $520       $93,860.00
                                          20.8           $530       $11,024.00
                                           1.7           $540          $918.00
Kevin G. Cooper       A                   31.1           $340       $10,574.00
Corey Ann Kamin       A                   14.2           $370        $5,254.00
                                           1.3           $375          $487.50
James A. Cirigliano   PL                   1.1           $315          $346.50
                                          11.3           $320        $3,616.00
                                           1.1           $325          $357.50
                                           4.3           $330        $1,419.00
  Jilaine E. Gill     PL                   8.5           $300        $2,550.00
                                           2.2           $305          $671.00
  Kerri Warren        PL                   0.4           $200           $80.00
   Alexandra          PL                   1.3           $225          $292.50
  Loutsenhizer
                                           2.3           $230          $529.00
   Tony Gjata         IT                   7.6           $360        $2,736.00
                                           2.3           $365          $839.50
                                           2.0           $370          $740.00
   Kathryn M.         PL                   1.3           $270          $351.00
    Cabrera
                                           1.8           $275          $495.00
     TOTAL                               783.3                     $523,499.00

Role Legend
P     Partner
S     Shareholder
SC    Senior Counsel
OF    Of Counsel
A     Associate
LC    Law Clerk
PL    Paralegal
I     Investigator
SA    Staff Attorney
CA    Contract Attorney
IT    Tech Support
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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS


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BRANDECO, L.L.C., AKIL KURJI, CUSTOM
WRISTBANDS INC., and CHRISTOPHER
ANGELES,

                 Defendants.




     EXHIBIT 2 TO THE DECLARATION OF BETSY C. MANIFOLD IN SUPPORT OF
      MOTION FOR AWARD OF ATTORNEYS’ FEES AND LITIGATION EXPENSES

                     Summary Expense Report (Inception Through Today’s Date)

      Expense                                           Total Amount
      Electronic Research                                       $1,828.12
      (Lexis/Westlaw/PACER)
      Court Costs – Filing Fees
      Litigation Fund Contribution
      Federal Express/Overnight                                    $89.14
      Delivery/Messengers
      Photocopies – In House                                      $307.75
      Photocopies – Outside
      Postage                                                      $10.15
      Service of Process Fees
      Telephone/Fax                                                 $83.29
      Transportation/Meals/Lodging                               $5,425.55
      Co-Counsel Fees
      Experts/Consultant Fees
      Secretarial Overtime                                         $114.82
      Court Reporter Service/Hearing Transcript Fees               $412.45
      TOTAL EXPENSES                                             $8,271.27
